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 6

 7   Attorneys for Defendants YouTube, LLC, and Google LLC

 8

 9
                                   UNITED STATES DISTRICT COURT
10
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12
   IN RE: SOCIAL MEDIA ADOLESCENT                    Case Nos. 4:22-MD-3047-YGR
13 ADDICTION/PERSONAL INJURY
   PRODUCTS LIABILITY LITIGATION
14
                                                     MDL No. 3047
15
     THIS DOCUMENT RELATES TO:                       DEFENDANTS YOUTUBE, LLC AND
16                                                   GOOGLE LLC’S ANSWER TO
     ALL ACTIONS                                     PLAINTIFFS’ AMENDED MASTER
17                                                   COMPLAINT (LOCAL GOVERNMENT
                                                     AND SCHOOL DISTRICT)
18
                                                     JURY TRIAL DEMANDED
19

20

21

22

23

24

25

26

27

28                                                  -1-
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                                                             LLC’S ANSWER TO PLAINTIFFS’ AMENDED
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 1             Defendants YouTube, LLC and Google LLC1 (“Defendants”) answer Plaintiffs’
 2   Amended Master Complaint – Local Government and School District (Dkt. No. 729) (“Amended
 3
     Master Complaint”) as follows:
 4
                                             GENERAL DENIAL
 5
               Pursuant to the Court’s Case Management Order No. 19 (Dkt. No. 1383), Defendants
 6

 7   generally and specifically deny each and every allegation contained in Plaintiffs’ Amended

 8   Master Complaint. Defendants further deny that Plaintiffs, or any other individual they allege to

 9   have been adversely affected, have been damaged as alleged, in any sum, or at all, by reason of
10
     any act or omission on the part of Defendants, and deny that Plaintiffs, or any other individual
11
     they allege to have been adversely affected, are entitled to any relief whatsoever by reason of
12
     their Amended Master Complaint.
13
                                        AFFIRMATIVE DEFENSES
14

15             Defendants assert the following affirmative defenses to the causes of action alleged by

16   Plaintiffs in their Amended Master Complaint and reserve the right to amend this Answer to
17   assert additional affirmative defenses. Defendants undertake the burden of proof as to only those
18
     defenses deemed affirmative defenses by law, regardless of how such defenses are denominated
19
     herein. Further, Defendants reserve the right to assert any and all defenses on which they do not
20
     bear the burden of proof.
21

22                                   FIRST AFFIRMATIVE DEFENSE

23                                         (Failure to State a Claim)

24             The Amended Master Complaint and each claim contained therein fails to state a claim
25

26
     1
    Pursuant to the Stipulation of Dismissal and Tolling Agreement, filed on January 26, 2024,
27 (Dkt. No. 568), claims against XXVI Holdings Inc. and Alphabet Inc. in the above-captioned
   matter have been dismissed without prejudice.
28                                                 -2-
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 1   upon which relief can be granted, fails to state facts sufficient to constitute a cause of action, and
 2   fails to plead cognizable injury. Defendants incorporate by reference herein as defenses each
 3
     ground on which they moved to dismiss Plaintiffs’ Amended Master Complaint. See Dkt. Nos.
 4
     237, 320, 323, 353.
 5
                                   SECOND AFFIRMATIVE DEFENSE
 6

 7                                     (Communications Decency Act)

 8           Plaintiffs’ claims are barred, in whole or in part, by the Communications Decency Act,

 9   47 U.S.C. § 230(c)(1).
10
                                   THIRD AFFIRMATIVE DEFENSE
11
                                              (Protected Speech)
12
             Plaintiffs’ claims are barred, in whole or in part, to the extent they seek to impose
13
     sanctions on Defendants for engaging in protected activity under the First Amendment to the
14

15   United States Constitution and similar provisions of state constitutions. Moreover, the

16   representations or statements alleged to have been made were true and accurate at the time made
17   and/or otherwise were made in good faith, with a reasonable belief as to their validity and
18
     accuracy and with a reasonable belief that all conduct was lawful.
19
                                   FOURTH AFFIRMATIVE DEFENSE
20
                                            (Personal Jurisdiction)
21

22           With respect to every action originally brought in a court located outside California,

23   Defendants aver that this Court lacks personal jurisdiction over them.

24                                  FIFTH AFFIRMATIVE DEFENSE
25                                            (Lack of Standing)
26
             Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs lack standing to assert
27
     some or all of the causes of action alleged and to obtain some or all of the relief requested.
28                                                      -3-
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 1                                  SIXTH AFFIRMATIVE DEFENSE
 2                                                  (Misuse)
 3
             Plaintiffs’ and/or users’ alleged injuries and harm, if any, were caused or contributed to,
 4
     directly and proximately, in whole or in part, by misuse, unauthorized use, criminal use,
 5
     unintended use, unforeseeable use, and/or improper use of the service(s) at issue in this matter.
 6

 7                                 SEVENTH AFFIRMATIVE DEFENSE

 8                                           (Economic Loss Rule)

 9           Plaintiffs’ claims are barred, in whole or in part, by the economic loss rule.
10
                                   EIGHTH AFFIRMATIVE DEFENSE
11
                                            (Real Party in Interest)
12
             Plaintiffs’ claims are barred because Plaintiffs are not the real party in interest.
13
                                    NINTH AFFIRMATIVE DEFENSE
14

15                                      (Unjust Enrichment, Generally)

16           Plaintiffs’ claims for relief are barred because they would be unjustly enriched if they
17   recovered any monetary relief.
18
                                    TENTH AFFIRMATIVE DEFENSE
19
                                     (Plaintiffs Were on Notice/Consent)
20
             Plaintiffs cannot obtain relief on their claims based on actions undertaken by the
21

22   Defendants of which the Defendants provided notice of all reasonable facts. Further, Plaintiffs

23   have consented to and/or ratified the conduct alleged in the Amended Master Complaint.

24

25

26

27

28                                                      -4-
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 1                                  ELEVENTH AFFIRMATIVE DEFENSE
 2                                                  (Contract)
 3
             Plaintiffs’ claims are barred, in whole or in part, by contracts and/or agreements,
 4
     including the integrated Terms of Service, they entered into with Defendants or third parties.
 5
                                    TWELFTH AFFIRMATIVE DEFENSE
 6

 7                                          (Pre-Existing Conditions)

 8           The injuries and harms Plaintiffs allege, if any, were the direct result of users’ preexisting

 9   medical conditions or idiosyncratic reactions and/or occurred by operation of nature or as a result
10
     of circumstances over which Defendants had and continue to have no control.
11
                                   THIRTEENTH AFFIRMATIVE DEFENSE
12
                                               (Improper Joinder)
13
             The claims asserted against Defendants do not arise out of the same transactions or
14

15   occurrences as required for joinder of parties.

16                                 FOURTEENTH AFFIRMATIVE DEFENSE
17                                    (Failure to Join Indispensable Parties)
18
             Plaintiffs have failed to join necessary or indispensable parties.
19
                                   FIFTEENTH AFFIRMATIVE DEFENSE
20
                                                  (Preemption)
21

22           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ claims are expressly

23   or impliedly preempted, in whole or in part, by federal or state law.

24                                 SIXTEENTH AFFIRMATIVE DEFENSE
25                          (Proportionate Fault of Agents, Employees, Contractors)
26
             To the extent any agents, employees, or contractors of Defendants caused any of the
27
     damages alleged by the Plaintiffs, such agents, employees, or contractors were acting outside the
28                                                       -5-
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 1   scope of agency employment, or contract with Defendants, and any recovery against Defendants
 2   must be reduced by the proportionate fault of such agents, employees, or contractors.
 3
                                   SEVENTEENTH AFFIRMATIVE DEFENSE
 4
                                                (Third-Party Fault)
 5
             A percentage of each Plaintiff’s alleged injury or loss, if proven, is attributable to (i)
 6

 7 other parties from whom Plaintiffs seek recovery in this action, and/or (ii) persons from whom

 8 Plaintiffs do not seek recovery in this action. Plaintiffs’ claims are therefore barred and/or

 9 Plaintiffs’ damages must be reduced, in whole or in part, because of the contributory and/or

10
     comparative fault of third parties who caused or contributed to Plaintiffs’ alleged injuries.
11
     Defendants are not liable for any alleged harm Plaintiffs sustained as a result of Plaintiffs’ use of
12
     another Defendant’s services; or any non-party’s website, app, online service, or other good,
13
     product, service or intangible.
14

15                                 EIGHTEENTH AFFIRMATIVE DEFENSE

16                                  (Third-Party Fault – Use of Other Services)
17           Defendants are not liable for any alleged harm by Plaintiffs that users of Defendants’
18
     services sustained as a result of a use of (i) another Defendant’s services; or (ii) any non-party’s
19
     website, app, online service, or other good, product, service or intangible.
20
                                   NINETEENTH AFFIRMATIVE DEFENSE
21

22                                   (Contributory and/or Comparative Fault)

23           A percentage of each Plaintiff’s alleged injury or loss is attributable to the conduct of

24   Plaintiff(s) and/or others acting on Plaintiffs’ behalf. Plaintiffs’ claims are therefore barred
25   and/or Plaintiffs’ damages must be reduced, in whole or in part, because Plaintiffs’ alleged
26
     damages were caused by the contributory or comparative fault of Plaintiffs and/or others acting
27
     on Plaintiffs’ behalf, because Plaintiffs knowingly encountered the alleged risks of Defendants’
28                                                       -6-
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 1   services, and because the principle of secondary assumption of risk applies to Plaintiffs’ claims.
 2                                  TWENTIETH AFFIRMATIVE DEFENSE
 3
                                       (Statutes of Limitations and Repose)
 4
             Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of limitations
 5
     and of repose. Plaintiffs’ claims are based on alleged acts or omissions that occurred before any
 6

 7 applicable limitations period and thus are time-barred.

 8                                 TWENTY-FIRST AFFIRMATIVE DEFENSE

 9                                       (Terms of Service Limitations)
10
             Plaintiffs’ claims are barred by the one-year limitations period in YouTube’s Terms of
11
     Service.
12
                               TWENTY-SECOND AFFIRMATIVE DEFENSE
13
                                              (No Duty or Breach)
14

15           Plaintiffs’ claims against Defendants fail as a matter of law because Defendants neither

16   owed nor breached any duty to any Plaintiffs.
17                                 TWENTY-THIRD AFFIRMATIVE DEFENSE
18
                                              (Assumption of Risk)
19
             Defendants owe no duty of care towards Plaintiffs in regard to the alleged inherent risks
20
     of Defendants’ services, and any recovery against Defendants is barred or limited under the
21

22 principle of assumption of risk, both express and implied.

23                            TWENTY-FOURTH AFFIRMATIVE DEFENSE

24                                                (No Injuries)
25           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs and/or users of
26
     Defendants’ services suffered no injuries or harm as a result of any action by Defendants.
27

28                                                      -7-
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 1                                 TWENTY-FIFTH AFFIRMATIVE DEFENSE
 2                                                   (Laches)
 3
             Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine of laches to the
 4
     extent that Plaintiffs unreasonably delayed before pursuing their alleged claims.
 5
                                   TWENTY-SIXTH AFFIRMATIVE DEFENSE
 6

 7                                            (Speculative Damages)

 8           Plaintiffs’ claims are barred to the extent that Plaintiffs’ alleged damages are speculative,

 9 uncertain, and/or hypothetical.

10
                              TWENTY-SEVENTH AFFIRMATIVE DEFENSE
11
                                      (Fraud, Illegality, or Improper Conduct)
12
             Plaintiffs’ claims are barred, in whole or in part, to the extent the alleged harms were due
13
     to the procurement of Defendants’ services through conduct that was fraudulent, illegal, or
14

15 otherwise improper. Defendants’ services were and continue to be age-restricted. Users who

16 began using Defendants’ services below the permitted age unlawfully obtained Defendants’

17 services while underage and through the use of deception, fraud, or other improper conduct, such

18
     as through misrepresentation of their true ages. Plaintiffs’ claims are further barred, in whole or
19
     in part, by the illegality of Plaintiffs’ and/or users’ own actions and/or any fraudulent and/or
20
     improper conduct by Plaintiffs and/or users.
21

22

23

24

25

26

27

28                                                       -8-
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 1                             TWENTY-EIGHTH AFFIRMATIVE DEFENSE
 2                                             (Unclean Hands)
 3
             Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine of unclean
 4
     hands, including to the extent Plaintiffs’ claims are brought despite any harms alleged that were
 5
     caused as a result of users violating Defendants’ Terms of Service and/or Terms of Use.
 6

 7                                 TWENTY-NINTH AFFIRMATIVE DEFENSE

 8                                           (Failure to Mitigate)

 9           Plaintiffs are barred from recovery to the extent of Plaintiffs’ and/or users’ failure to
10
     avoid or mitigate harm, including but not limited to users’ failure to cease using Defendants’
11
     services; failure to seek medical or other assistance in an effort to cease using Defendants’
12
     services; or failure to otherwise seek medical or other assistance in an effort to address users’
13
     alleged injuries or harm.
14

15                                  THIRTIETH AFFIRMATIVE DEFENSE

16                                       (Claims Not Ripe/Mootness)
17           Plaintiffs’ claims are not ripe. Plaintiffs’ claims are barred to the extent they are moot,
18
     including because Plaintiffs have made numerous allegations about historical practices or other
19
     practices that have ceased and that cannot support a request for injunctive or other relief.
20
                                   THIRTY-FIRST AFFIRMATIVE DEFENSE
21

22                                                 (Estoppel)

23           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of estoppel based on

24 the actions of Plaintiffs and/or their representatives.

25

26

27

28                                                      -9-
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 1                             THIRTY-SECOND AFFIRMATIVE DEFENSE
 2                          (Conduct Not Willful; Conforming to Industry Standards)
 3
             Defendants deny that they engaged in any wrongful conduct. Any conduct by
 4
     Defendants was not willful or knowing. Plaintiffs’ claims are barred, in whole or in part, to the
 5
     extent that the challenged conduct of Defendants was undertaken for a valid business purpose
 6

 7   and/or was consistent with industry norms and practices.

 8                                 THIRTY-THIRD AFFIRMATIVE DEFENSE

 9                                      (Lack of Causation, Generally)
10
             Defendants deny all types of causation, general and specific, including cause in fact,
11
     proximate cause, and producing cause, with respect to the claims asserted against Defendants.
12
                               THIRTY-FOURTH AFFIRMATIVE DEFENSE
13
                            (Independent, Intervening, and/or Superseding Causation)
14

15           Plaintiffs’ alleged injuries, in whole or in part, resulted from independent, intervening,

16   and/or superseding causes for which Defendants are not legally responsible and which were not
17 foreseeable.

18
                                   THIRTY-FIFTH AFFIRMATIVE DEFENSE
19
                       (Adequate Remedy at Law; Plaintiffs Seek Improper Abatement)
20
             Plaintiffs’ equitable claims are barred, in whole or in part, because Plaintiffs have an
21

22 adequate remedy at law, because Plaintiffs have no factual or legal basis for the grant of

23 equitable relief, and because Plaintiffs’ alleged equitable relief would duplicate legal remedies

24 that are alleged. In addition, to the extent that Plaintiffs seek money as an equitable “abatement”

25 remedy, that is an improper remedy.

26

27

28                                                     -10-
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 1                                 THIRTY-SIXTH AFFIRMATIVE DEFENSE
 2                                            (Duplicative Recovery)
 3
             Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs seek
 4
     duplicative relief for the same conduct.
 5
                              THIRTY-SEVENTH AFFIRMATIVE DEFENSE
 6

 7                                     (Cap on Recovery; Collateral Sources)

 8           Plaintiffs’ claims are barred, in whole or in part, pursuant to all applicable statutory and

 9   common law doctrines regarding limitations of awards, caps on recovery, and setoffs.
10
     Defendants are entitled to have any damages that may be awarded to Plaintiffs reduced by the
11
     value of any benefit or payment received, available, or to be received by Plaintiffs from any
12
     collateral source, as permitted by law.
13
                                   THIRTY-EIGHTH AFFIRMATIVE DEFENSE
14

15                                                   (Set-off)

16           Defendants are not liable for the full amount of the claims to the extent Defendants are
17 entitled to a set-off.

18
                                   THIRTY-NINTH AFFIRMATIVE DEFENSE
19
           (No Punitive Damages, Generally; No Punitive Damages – Statutory/Constitutional )
20
             Punitive damages are not recoverable by Plaintiffs because Plaintiffs have failed to allege
21

22 or establish any conduct that would support an award of punitive damages. Further, any claims

23 for punitive or exemplary damages or other civil penalties are barred or reduced by applicable

24 law or statute or, in the alternative, are unconstitutional insofar as they violate the due process

25 protections afforded by the United States Constitution, the excessive fines clause of the Eighth

26
     Amendment of the United States Constitution, the Full Faith and Credit Clause of the United
27
     States Constitution, and applicable provisions of the Constitution of this State or that of any other
28                                                      -11-
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 1   state whose laws may apply.
 2                                   FORTIETH AFFIRMATIVE DEFENSE
 3
                                         (Attorneys’ Fees Unavailable)
 4
             Plaintiffs’ request for attorneys’ fees in this action is barred because it lacks any basis in
 5
     law.
 6

 7                                  FORTY-FIRST AFFIRMATIVE DEFENSE

 8                                       (Claim and/or Issue Preclusion)

 9           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of claim and/or issue
10
     preclusion to the extent that Plaintiffs have brought other lawsuits against Defendants that reach
11
     judgment before this action reaches judgment.
12
                                   FORTY-SECOND AFFIRMATIVE DEFENSE
13
                                       (Lack of Capacity to Assert Claims)
14

15           Plaintiffs have no capacity, authority, or right to assert some or all of their claims.

16                                 FORTY-THIRD AFFIRMATIVE DEFENSE
17                                       (Sufficient Corrective Action)
18
             Plaintiffs’ claims are barred, in whole or in part, because Defendants’ allegedly offending
19
     conduct or practice has ceased and Defendants have cured or taken sufficient corrective action in
20
     regard to the alleged defects of which Plaintiffs complain.
21

22                                 FORTY-FOURTH AFFIRMATIVE DEFENSE

23                                           (Opportunity to Cure)

24           Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs failed to
25 provide Defendants with notice of and a reasonable opportunity to cure the alleged defects.

26

27

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 1                                 FORTY-FIFTH AFFIRMATIVE DEFENSE
 2                                         (Discharged Obligations)
 3
             Defendants appropriately, completely, and fully discharged any and all obligations
 4
     arising out of the matters alleged in the Amended Master Complaint.
 5
                                   FORTY-SIXTH AFFIRMATIVE DEFENSE
 6

 7                                               (Justification)

 8           Plaintiffs’ claims are barred, in whole or in part, because to the extent Defendants

 9   engaged in any of the alleged acts, omissions, or conduct, they did so with justification.
10
                                    FORTY-SEVENTH AFFIRMATIVE DEFENSE
11
                              (Ordinary Course of Business; Industry Custom and Practice)
12
             Plaintiffs’ claims are barred, in whole or in part, because at all relevant times,
13
     Defendants’ actions were within the ordinary course of business and complied with industry
14

15   custom and practice.

16                                 FORTY-EIGHTH AFFIRMATIVE DEFENSE
17                                           (Authorized Conduct)
18
             At all times material herein, Defendants’ actions were specifically authorized under the
19
     laws administered by, or rules and regulations promulgated by, regulatory bodies or officers
20
     acting under the authority of the United States.
21

22                                 FORTY-NINTH AFFIRMATIVE DEFENSE

23                            (Content and Parties Outside of Defendants’ Control)

24           Recovery for Plaintiffs’ alleged harm should be barred or reduced to the extent such harm
25   was caused by (a) content created by persons and/or entities not within Defendants’ control
26
     and/or (b) changes and/or alterations to Defendants’ products made by persons and/or entities not
27
     within Defendants’ control.
28                                                      -13-
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 1                                   FIFTIETH AFFIRMATIVE DEFENSE
 2                                         (Conformance with Laws)
 3
             The claims asserted in the Complaint are barred, in whole or in part, because the
 4
     activities of Defendants’ alleged in the Amended Master Complaint conformed with all state and
 5
     federal statutes, regulations, and industry standards based on the state of knowledge at the
 6

 7   relevant times alleged in the Amended Master Complaint.

 8                                 FIFTY-FIRST AFFIRMATIVE DEFENSE

 9                                                (State of Art)
10
             Plaintiffs may not recover from Defendants because the methods, standards, or
11
     techniques of designing and making available the services at issue complied with and were in
12
     conformity with the generally recognized state of the art at the time the services were designed
13
     and made available to users.
14

15                                 FIFTY-SECOND AFFIRMATIVE DEFENSE

16                                   (Acquiescence, Settlement, and Release)
17           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of acquiescence,
18
     settlement, and release.
19
                                   FIFTY-THIRD AFFIRMATIVE DEFENSE
20
                                             (Separation of Powers)
21

22           Plaintiffs’ claims are barred or limited by the separation of powers doctrine to the extent

23 that they raise political or policy issues, not legal or constitutional ones.

24

25

26

27

28                                                      -14-
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 1                                 FIFTY-FOURTH AFFIRMATIVE DEFENSE
 2                            (Defenses Against Claims Made on Behalf of Others)
 3
             Plaintiffs’ claims are subject to all defenses that could be asserted if Plaintiffs’ claims
 4
     were properly made by individuals on whose behalf or for whose alleged injuries or harm
 5
     Plaintiffs seek to recover.
 6

 7                                  FIFTY-FIFTH AFFIRMATIVE DEFENSE

 8                                          (Petitioning Congress)

 9           Plaintiffs’ claims fail, in whole or in part, to the extent that they are based on petitioning
10
     statements made to Congress.
11
                                    FIFTY-SIXTH AFFIRMATIVE DEFENSE
12
                                          (Derivative of User Claims)
13
             Plaintiffs’ claims are barred, in whole or in part, because they are derivative of claims
14

15   that could be asserted, if at all, by users of Defendants’ services, and/or by their parents or

16   guardians.
17                                 FIFTY-SEVENTH AFFIRMATIVE DEFENSE
18
                                            (Contemplated Conduct)
19
             Plaintiffs’ claims are barred, in whole or in part, because the conduct alleged in the
20
     Complaint was contemplated by contracts and/or agreements that users of Defendants’ services
21

22   entered into with Defendants or third parties.

23                                 FIFTY-EIGHTH AFFIRMATIVE DEFENSE

24                                        (Dormant Commerce Clause)
25           Plaintiffs’ claims are barred, in whole or in part, by the dormant Commerce Clause of the
26
     United States Constitution.
27

28                                                      -15-
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 1                                 FIFTY-NINTH AFFIRMATIVE DEFENSE
 2                                           (Due Process Clause)
 3
             Plaintiffs’ claims are barred, in whole or in part, by the Due Process Clauses of the
 4
     United States and Plaintiffs’ states’ constitutions, including to the extent Plaintiffs seek punitive
 5
     damages.
 6

 7                                   SIXTIETH AFFIRMATIVE DEFENSE

 8                                               (No Reliance)

 9           Plaintiffs’ claims may be barred, in whole or in part, because users did not rely
10
     (reasonably or otherwise) upon any purported statement by Defendants in determining to use
11
     Defendants’ services.
12
                                   SIXTY-FIRST AFFIRMATIVE DEFENSE
13
                                           (No Retroactive Reliance)
14

15           To the extent that Plaintiffs seek relief for Defendants’ conduct occurring before

16   enactment of applicable statutes or regulations, the claims fail because the statutes and
17   regulations do not apply retroactively.
18
                                   SIXTY-SECOND AFFIRMATIVE DEFENSE
19
                                               (Preclusion by Law)
20
             Plaintiffs are precluded from recovering civil penalties and/or statutory damages under
21

22 applicable provisions of law.

23                                 SIXTY-THIRD AFFIRMATIVE DEFENSE

24                                     (Consumer Protection Limitations)
25           Plaintiffs’ claims are premised on the provisions and limitations of Plaintiffs’ states’
26
     laws. Defendants are entitled to, and claim the benefit of, all defenses and presumptions set forth
27
     in or arising from any rule of law or statute of the Plaintiffs’ states or any other state whose
28                                                     -16-
       Case No. 4:22-MD-3047-YGR                              DEFENDANTS YOUTUBE, LLC AND GOOGLE,
                                                               LLC’S ANSWER TO PLAINTIFFS’ AMENDED
                                                                                 MASTER COMPLAINT
 Case 4:22-md-03047-YGR                Document 1419       Filed 12/06/24    Page 17 of 19



 1   substantive law might control the action or claims.
 2                                 SIXTY-FOURTH AFFIRMATIVE DEFENSE
 3
                                    (Other Defenses Incorporated by Reference)
 4
             Defendants further incorporate by reference, as if set forth herein, any defense asserted
 5
     by another Defendant in these matters.
 6

 7                                 ADDITIONAL AFFIRMATIVE DEFENSES

 8           Defendants hereby give notice that they reserve the right to rely upon any other defense

 9 that may become apparent as discovery progresses in this matter and reserves their right to

10
     amend the Answer and to assert any such defense. Defendants also reserve the right to amend
11
     the Answer and to assert any such defense should Plaintiffs at any time hereafter purport to raise,
12
     rely on, or otherwise seek to proceed on any claim or theory stated in their Amended Master
13
     Complaint that has been dismissed. Defendants also reserve the right to amend their Answer and
14

15   to assert any such defense should Plaintiffs at any time hereafter ask the Court to award relief on

16   the basis of Plaintiffs’ prayers for “other” relief. Nothing stated herein constitutes a concession
17   as to whether Plaintiffs bear the burden of proof on any issue.
18
                                            PRAYER FOR RELIEF
19
     WHEREFORE, Defendants request:
20
             (a) That judgment be entered in favor of Defendants and against Plaintiffs, and that
21

22 Plaintiffs’ action be dismissed in its entirety with prejudice;

23           (b) That Plaintiffs take nothing by way of their Amended Master Complaint;

24           (c) That Defendants be awarded the costs of defending against this suit, including
25 reasonable attorneys’ fees and other disbursements; and

26
             (d) For such other and further relief as the Court shall deem just and proper.
27

28                                                      -17-
       Case No. 4:22-MD-3047-YGR                               DEFENDANTS YOUTUBE, LLC AND GOOGLE,
                                                                LLC’S ANSWER TO PLAINTIFFS’ AMENDED
                                                                                  MASTER COMPLAINT
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 1                                           JURY DEMAND
 2           Defendants demand a trial by jury on all issues so triable.
 3

 4

 5   Dated: December 6, 2024               Respectfully Submitted,

 6                                         WILLIAMS & CONNOLLY LLP
 7
                                                  Joseph G. Petrosinelli
 8                                        By:   JOSEPH G. PETROSINELLI
                                                ASHLEY W. HARDIN
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                                                Attorneys for Defendants YouTube, LLC, and
11                                              Google LLC

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       Case No. 4:22-MD-3047-YGR                             DEFENDANTS YOUTUBE, LLC AND GOOGLE,
                                                              LLC’S ANSWER TO PLAINTIFFS’ AMENDED
                                                                                MASTER COMPLAINT
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 1                                  CERTIFICATE OF SERVICE
 2           I, Ashley W. Hardin, hereby certify that on December 6, 2024, Defendants YouTube, LLC
 3   and Google LLC’s Answer to Plaintiffs’ Amended Master Complaint was filed via the CM/ECF
 4   system, is available for viewing and downloading from the ECF system, and that all parties
 5   required to be noticed will receive notice through the ECF system.
 6   DATED: December 6, 2024                                    By: /s/ Ashley W. Hardin
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       Case No. 4:22-MD-3047-YGR                           DEFENDANTS YOUTUBE, LLC AND GOOGLE,
                                                            LLC’S ANSWER TO PLAINTIFFS’ AMENDED
                                                                              MASTER COMPLAINT
